Case 21-40646-JMM             Doc 54      Filed 02/22/22 Entered 02/22/22 15:09:18                     Desc Main
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 1                              UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF IDAHO
 2
                                                                    No. 21-40646-JMM
 3   In re:
 4       LISA M. PHILLIPS                                           ORDER ON WITHDRAWAL OF
                                                                    DEBTOR’S COUNSEL
 5                                  Debtor
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              Upon consideration of the pleadings, the record, and the argument of the parties at the
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     hearing on February 15, 2022, the Court hereby GRANTS the withdrawal of Debtor’s
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10   Counsel Holly Henson in the above entitled matter.

11             Pursuant to LBR 9010(f)(2), the Court finds that the Debtor has appeared in person in

12   the bankruptcy case 1 and thus there is no need to delay by 21 days any action concerning
13   the Debtor in the bankruptcy case.
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                                                 DATED: February 22, 2022
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                                                 JOSEPH M. MEIER
18                                               CHIEF U. S. BANKRUPTCY JUDGE
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     The Court entered its own order to replace the proposed order submitted by counsel.
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       The Debtor appeared at the hearing on February 15, 2022 and urged the Court to dimiss the chapter 13 case
24   based on her motion. That motion to dismiss under 11 USC § 1307(b) was granted and a written order is
     forthcoming. The only issues remaining in the bankruptcy case, that the Court reserved on dismissal under 11
25   U.S.C. § 349((b), are the disputes between Debtor and her counsel regarding counsel’s entitlement to payment
     of unpaid fees, including from the payments held by the chapter 13 Trustee, and the Debtor’s argument that fees
26   and costs paid to counsel should be disgorged.

     ORDER ON WITHDRAWAL
     OF COUNSEL - 1
